Case 2:93-cv-O2004-.]PI\/| Document 207 Filed 07/21/05 Page 1 of 2 Page|D 91

 

IN THE UNITED STATES DISTRICT coURT FH‘ED BV W§- D'C'
FOR THE wESTERN DISTRICT OF TENNESSEE
wESTERN DIVISION 05 JUL 21 PH 3= 58
TM“SI.
ROBERT DAVIS, et al., CLERKU3 LYSW’{`TCOLW

WD QFH w~HPHS

Plaintiffs,
v. No. 93-2004 Ml

TED SUTTON, et al.,

--.¢\._¢\_/\_,-_.J-_/\-../~._»~_/

Defendants.

 

ORDER DIREC'I'ING CLERK 'I`O DISBURSE FUNDS

 

The Special Master in this case, Charles Fisher, has
submitted an invoice for fees and expenses incurred in connection
with this matter for the month of June, 2005, in the amount of
$2,951.58. Accordingly, the Clerk of Court is directed to send
the total sum of $2,951.58 to the Special Master, Charles Fisher,

at 622 South Main Street, Covington, Tennessee 38019.

IT IS SO ORDERED 'I'HIS dl t DAY Of July, 2005.

M@WM

P. MCCALLA
ITED STATES DISTRICT JUDGE

 

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Th!s document entered on the docket‘; jj In congpliance _ \

with Hule 58 and/or ?9(3) FHCP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 207 in
case 2:93-CV-02004 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

